                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                           UNITED STATES DISTRICT COURT                                August 27, 2019
                            SOUTHERN DISTRICT OF TEXAS                                David J. Bradley, Clerk
                                 LAREDO DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             § CRIMINAL ACTION NO. 5:19-CR-371-
                                                §1
                                                §
MATILDE ALANIS-CUELLAR

                                            ORDER

       Pending is the Magistrate Judge’s Report and Recommendation (Dkt. 45) recommending

that Defendant’s motion to suppress (Dkt. 31) be denied. The parties have been duly noticed

regarding the filing of objections, and, as of August 20, 2019, the applicable 14-day timeframe

for the filing of objections has now lapsed. Noting that no objections have been filed, and having

now reviewed the matter as provided by 28 U.S.C. § 636, the Court concludes that the Report

and Recommendation should be and is hereby ACCEPTED. Thus, Defendant’s motion to

suppress (Dkt. 31) is DENIED.

       The case is hereby referred to U.S. Magistrate Judge Sam Sheldon for a final pretrial

conference.

       IT IS SO ORDERED.

       SIGNED this 27th day of August, 2019.


                                                 ___________________________________
                                                 Diana Saldaña
                                                 United States District Judge




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